                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                     AT WINCHESTER

 UNITED STATES OF AMERICA                              )
                                                       )       Case No. 4:11-cr-16
 v.                                                    )
                                                       )       MATTICE / LEE
 JUSTIN JOYNER                                         )


                              REPORT AND RECOMMENDATION

        Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on October 19, 2011.

 At the hearing, defendant moved to withdraw his not guilty plea to Count One of the fourteen-count

 Indictment and entered a plea of guilty to the lesser included offense of the charge in Count One,

 that is of conspiracy to manufacture and distribute five (5) grams or more of methamphetamine

 (actual) or fifty (50) grams or more of a mixture and substance containing a detectable amount of

 methamphetamine, a Schedule II controlled substance, in violation of 21 U.S.C. §§ 846 and

 841(b)(1)(B) in exchange for the undertakings made by the government in the written plea

 agreement. On the basis of the record made at the hearing, I find the defendant is fully capable and

 competent to enter an informed plea; the plea is made knowingly and with full understanding of each

 of the rights waived by defendant; the plea is made voluntarily and free from any force, threats, or

 promises, apart from the promises in the plea agreement; the defendant understands the nature of

 the charge and penalties provided by law; and the plea has a sufficient basis in fact.

        Therefore, I RECOMMEND defendant’s motion to withdraw his not guilty plea to Count

 One of the Indictment be granted, his plea of guilty to the lesser included offense of the charge in

 Count One, that is of conspiracy to manufacture and distribute five (5) grams or more of

 methamphetamine (actual) or fifty (50) grams or more of a mixture and substance containing a

 detectable amount of methamphetamine, a Schedule II controlled substance, in violation of 21



Case 4:11-cr-00016-TRM-SKL           Document 201          Filed 10/25/11    Page 1 of 2      PageID
                                           #: 434
 U.S.C. §§ 846 and 841(b)(1)(B) be accepted, the Court adjudicate defendant guilty of the lesser

 included offense of the charge in Count One of the Indictment, that is of conspiracy to manufacture

 and distribute five (5) grams or more of methamphetamine (actual) or fifty (50) grams or more of

 a mixture and substance containing a detectable amount of methamphetamine, a Schedule II

 controlled substance, in violation of 21 U.S.C. §§ 846 and 841(b)(1)(B), and a decision on whether

 to accept the plea agreement be deferred until sentencing. I further RECOMMEND defendant

 remain in custody until sentencing in this matter. Acceptance of the plea, adjudication of guilt,

 acceptance of the plea agreement, and imposition of sentence are specifically reserved for the district

 judge.



                                                s/ Susan K. Lee
                                                SUSAN K. LEE
                                                UNITED STATES MAGISTRATE JUDGE


                                       NOTICE TO PARTIES

          You have the right to de novo review of the foregoing findings by the district judge. Any
 application for review must be in writing, must specify the portions of the findings or proceedings
 objected to, and must be filed and served no later than fourteen days after the plea hearing. Failure
 to file objections within fourteen days constitutes a waiver of any further right to challenge the plea
 of guilty in this matter. See 28 U.S.C. §636(b).




Case 4:11-cr-00016-TRM-SKL            Document 201         Filed 10/25/11      Page 2 of 2      PageID
                                            #: 435
